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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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       HILDA T.H.,                      )   Case No. EDCV 20-1246-SVW (JPR)
10                                      )
                          Plaintiff,    )
11                                      )   ORDER ACCEPTING FINDINGS AND
                     v.                 )   RECOMMENDATIONS OF U.S.
12                                      )   MAGISTRATE JUDGE
       COMMISSIONER OF SOCIAL           )
13     SECURITY,                        )
                                        )
14                        Defendant.    )
                                        )
15
16          Pursuant to 28 U.S.C. § 636, the Court has reviewed the

17 Complaint, Plaintiff’s motion for judgment on the pleadings, the
18 Commissioner’s motion for summary judgment, the Administrative
19 Record, and the records on file as well as the Report and
20 Recommendation of U.S. Magistrate Judge.            No objections to the R.

21 & R. have been filed.
22          The Court accepts the findings and recommendations of the

23 Magistrate Judge.          IT THUS IS ORDERED that (1) Plaintiff’s motion

24 for judgment on the pleadings is DENIED; (2) the Commissioner’s
25 motion for summary judgment is GRANTED; and (3) judgment be
26 entered affirming the final decision and dismissing this action
27 with prejudice.
28 DATED:      November 15, 2021
                                            STEPHEN V. WILSON
                                            U.S. DISTRICT JUDGE
